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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RAISTONE PURCHASING LLC-SERIES                     22-cv-10221 (JGK)
XXXVII,
                                                   ORDER
                         Plaintiff ,

              - against -

COMERCIALIZADORA DE PAPELES Y
CARTONES SURPAPEL S . A . ,

                        Defendant .

JOHN G. KOELTL , District Judge :

     The time for the plaintiff to file motion for summar y

judgment is August 2, 2024 . The time for the defendant to respond

is August 26, 2024. The time to reply is September 13 , 2024 .

SO ORDERED.

Dated :     New York, New York
            July 2, 2024



                                          United States District Judge
